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                                          United States District Court
                                    EASTERN DISTRICT OF TEXAS MARSHALL DIVISION

 UNITED STATES OF AMERICA                                                § JUDGMENT IN A CRIMINAL CASE
                                                                         §
 v.                                                                      §
                                                                         § Case Number: 2:19-CR-00001-JRG-RSP(1)
 MARK MCLEAN FARMER                                                      § USM Number: 58307-177
                                                                         § Scott Edward Rectenwald
                                                                         a Defendant s Attorney

THE DEFENDANT:
       pleaded guilty to count(s)
       pleaded guilty to count(s) before a U.S. Magistrate
 (3    Jud e, which was accepted by the court.                   1 and 2 of the Information
       pleaded nolo contendere to count(s) which was
       accepted by the court
       was found guilty on count(s) after a plea of not guilty


The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense Offense Ended Count
 21:846=Cd.F Violation: 21 U.S.C. § 846 (Conspiracy To Possess With The Intent To Distribute 11/30/2018 Iss
 and Distribution Of Anabolic Steroids)
 18:924C.F Violation: 18 U.S.C. § 924 (C) (Use, Carrying, and Possession Of A Firearm During 11/30/2018 2ss
 and In Furtherance Of A Drug Trafficking Crime)




The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

       The defendant has been found not guilty on count(s)
       Count(s) Dis are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.



                                                                  January 16,2020
                                                                  Date of Imposition of Judgment




                                                                  Signature of Jud;

                                                                  RODNEY GILSTRAP
                                                                  UNITED STATES DISTRICT JUDGE
                                                                  Name and Title of Judge
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DEFENDANT: M RK MCLEAN FARMER
CASE NUMBER: 2:19-CR-00001-JRG-RSP(1)

                                                       IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be i prisoned for a total term of 72
months. The term consists of 12 months on Count 1 of the Information and 60 months on Count 2 of the Information, to be served
consecutively.


 |Xl The court makes the following recommendations to the Bureau of Prisons:
        The Court recommends to the Bureau of Prisons that the defendant receive appropriate drug treatment while imprisoned.




 [X] The defendant is remanded to the custody of the United States Marshal.
       The defendant shall surrender to the United States Marshal for this district:


                at               a       .           p.m.                   on



                as notified by the United States Marshal.


       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.



                                                             RETURN
I have executed this judgment as follows:



        Defendant delivered on                                      to


at                                       , with a certified copy of this judgment.




                                                                                          UNITED STATES MARSHAL

                                                                                                     By
                                                                                       DEPUTY UNITED STATES MARSHAL
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DEFENDANT: MARK MCLEAN FARMER
CASE NUMBER: 2:19-CR-00001-JRG-RSP(1)

                                                SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: five (5) years. This term consists of
terms of 3 years on Count 1 and 5 years on Count 2, all such terms to run concurrently.


                                            MANDATORY CONDITIONS
 1. You must not commit another federal, state or local crime.
 2. You must not unlawfully possess a controlled substance.

 3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
     from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

                 The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse, check if applicable)
 4. Q You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
          of restitution, (check if applicable)
 5. |x| You must cooperate in the collection of DNA as directed by the probation officer, check if applicable)
 6. Q You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
          seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
          you reside, work, are a student, or were convicted of a qualifying offense, {check if applicable)

 7. Q You must participate in an approved program for domestic violence, {check if applicable)

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
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DEFENDANT: MARK MCLEAN FARMER
CASE NUMBER: 2:19-CR-00001-JRG-RSP(1)

                                STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
i posed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep infonned, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
whe you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer e cuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or e pected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the per ission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You ust not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
 11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.usco rts.gov.


 Defendant                                         s       Signature                                            Date
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DEFENDANT: MARIC MCLEAN FARMER
CASE NUMBER: 2:19-CR-00001 -JRG-RSP(l)

                                SPECIAL CONDITIONS OF SUPERVISION

The defendant must provide the probation officer with access to any requested financial information for purposes of
monitoring the defendant's sources of income.

The defendant must particip te in a program of testing and treatment for substance abuse and follow the rules and regulations
of that program until discharged. The probation officer, in consultation with the treatment provider, will supervise the
defendant's participation in the program. The defendant must pay any cost associated with treatment and testing.
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DEFENDANT: MARK MCLEAN FARMER
CASE NUMBER: 2.T9-CR-00001-JRG-RSP(1)

                                        CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments page.
                     Assessment                Restitution             Fine      AVAA Assessment*                         JVTA Assessment** ***
 TOTALS                  $200.00                      $.00             $.00                       $.00                                       $.00

       The determination of restitution is deferred until An Ame ded Judgment in a Criminal Case (A0245C) will be entered
       after such determination.
       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
         § 3664(i), all nonfederal victims must be paid before the United States is paid.




 Q Restitution amount ordered pursuant to plea agreement $
 U] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the schedule of
      payments page may be subject to penalties for delinquency and default, ursuant to 18 U.S.C. § 3612(g).
      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        U] the interest requirement is waived for the Q fine Q restitution
              the interest requirement for the                            fine       restitution is modified as follows:


* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount of losses a e required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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DEFENDANT: M RK MCLEAN FARMER
CASE NUMBER: 2:19-CR-00001-JRG-RSP(1)

                                                   SCHEDULE OF PAYMENTS
Having assessed the defendant s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A [g| Lump sum payments of $ 200.00 due immediately, balance due

        Q not later than , or

        Q in accordance                                C,         D,                    E, or               F below; or

 B      |X] Payment to begin immediately (may be combined with                          c,                  D, or              ]X] F below); or

 C      (X) Payment in equal e.g., weekly, monthly, q arterly) installments of $ over a period of
                                    (e.g., months or years), to commence _                   (e.g., 30 or 60 days) after the date of this judgment;
               or


 D    Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $ over a period of
                                 (e.g., months or years), to commence (e.g., 30 or 60 days) after release from
               imprisonment to a term of supervision; or

 E Q Payment during the term of supeivised release will commence within (e.g., 30 or 60 days) after release
         from imprisonment. The court will set the payment plan based on an assessment of the defendant s ability to pay at that
               time; or


 F IX] Special instructions regarding the payment of criminal monetary penalties:
           It is ordered that the Defendant shall pay to the United States a special assessment of $200.00 for Counts Iss and
           2ss , which shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
In ate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

        Joint and Several
        See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
        Several Amount, and corresponding payee, if appropriate.

        C Defendant shall receive credit on his restitution obligation for recovery from other defendants who contributed to the same
        loss that gave rise to defendant's restitution obligation.
        The defendant shall pay the cost of prosecution.
        The defendant shall pay the following court cost(s):
        The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA Assessment, (9) penalties, and (10) costs, including cost of prosecution and
court costs.
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DEFENDANT: MARK MCLEAN FARMER
CASE NUMBER: 2:19-CR-00001 -JRG-RSP( 1)

                                         DENIAL OF FEDERAL BENEFITS
                                      (For Offenses Committed On or After November 18,1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862

         IT IS ORDERED that the defendant shall be:

  |X] ineligible for all federal benefits for a period of 5 years.
        ineligible for the following federal benefits for period of
        (specify benefit(s))

                                                                     OR

        Having determined that this is the defendant s third or subsequent conviction for distribution of controlled substances, IT IS
        ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

       IT IS ORDERED that the defendant shall:
  Q be ineligible for all federal benefits for a period of
  Q be ineligible for the following federal benefits for a period of
        (specify benefit(s))

        successfully complete a drug testing and treatment program.
        perform community service, as specified in the probation and supeivised release portion of this judgment.
        IS FU THER ORDERED that the defendant shall complete any drug treatment program and community service specified in
        this judgment as a requirement for the reinstatement of eligibility for federal benefits.


         Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security,
health, disability, veterans benefit, public housing, or other similar benefit, or any other benefit for hich payments or services
are required for eli ibility. The clerk is responsible for sending a copy of this page and the first page of this judgment to:

                          U.S. Department of Justice, Office of Justice Pro rams, Washin ton, DC 20531
